        Case Case
             2:20-mj-01114-BNW
                  2:20-mj-01117-BNW
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1    CHRISTOPHER CHIOU
     Acting United States Attorney
2    District of Nevada
     Nevada Bar Number 14853
3    CHRISTOPHER BURTON
     Nevada Bar Number 12940
4    SUSAN CUSHMAN
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     Kimberly.Sokolich@usdoj.gov
8    Attorneys for the United States of America

9                               UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
10
     IN THE MATTER OF AN APPLICATION              Case No. 2:20-mj-1114-BNW
11   FOR A SEARCH WARRANT FOR:
                                                  GOVERNMENT’S MOTION TO
12   A UNITED STATES POSTAL                       UNSEAL CASE
     SERVICE (USPS) PRIORITY MAIL
13   PARCEL BEARING TRACKING
     NUMBER 9114 9023 0722 4923 2571
14   25, ADDRESSED TO RYAN
     PARENT, 249 CREST RD, NOVATO,
     CA 94945
15
     IN THE MATTER OF AN APPLICATION              Case No. 2:20-mj-1115-BNW
     FOR A SEARCH WARRANT FOR:
16
                                                  GOVERNMENT’S MOTION TO
     A UNITED STATES POSTAL                       UNSEAL CASE
17   SERVICE (USPS) PRIORITY MAIL
     PARCEL BEARING TRACKING
18   NUMBER 9114 9023 0722 4923 2583
     37, ADDRESSED TO SPENCER
19   GIETZEN, 450 CENTRAL WAY
     UNIT 2403, KIRKLAND, WA 98033
20   IN THE MATTER OF AN                          Case No. 2:20-mj-1116-BNW
     APPLICATION FOR A SEARCH
21   WARRANT FOR:                                 GOVERNMENT’S MOTION TO
                                                  UNSEAL CASE
22   A UNITED STATES POSTAL
     SERVICE (USPS) PRIORITY MAIL
23   PARCEL BEARING TRACKING

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1    NUMBER 9114 9023 0722 4923 2582
     76, ADDRESSED TO ANDREAS
2    OSTI, 130 HEMPSTEAD AVE APT
     401, WEST HEMPSTEAD, NY 11552-
3    2156

4
     IN THE MATTER OF AN                             Case No. 2:20-mj-1117-BNW
     APPLICATION FOR A SEARCH
5    WARRANT FOR:                                    GOVERNMENT’S MOTION TO
                                                     UNSEAL CASE
6    A UNITED STATES POSTAL
     SERVICE (USPS) PRIORITY MAIL
7    PARCEL BEARING TRACKING
     NUMBER 9114 9023 0722 4923 2584
8    12, ADDRESSED TO ALEJANDRO
     RUIZ, 1681 CROCKER RD,
9    RANDOLPH CENTER, VT 05061
     IN THE MATTER OF THE                            Case No. 2:21-mj-00094-BNW
10   TRACKING
     OF:                                             GOVERNMENT’S MOTION TO
11                                                   UNSEAL CASE
     A SILVER COLORED 2017
12   CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
13   PLATE NUMBER VMD601
     IN RE APPLICATION OF THE                        Case No. 2:21-mj-00209-BNW
14   UNITED STATES OF AMERICA
     FOR AN ORDER AUTHORIZING                        GOVERNMENT’S MOTION TO
15   THE INSTALLATION AND USE OF                     UNSEAL CASE
     A PEN REGISTER AND TRAP AND
     TRACE DEVICE
16
     IN THE MATTER OF THE                            Case No. 2:21-mj-00326-BNW
17   CONTINUED TRACKING
     OF:                                             GOVERNMENT’S MOTION TO
18                                                   UNSEAL CASE
     A SILVER COLORED 2017
19   CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
20   PLATE NUMBER VMD601

21         The United States of America, by and through CHRISTOPHER CHIOU, Acting

22   United States Attorney, and Christopher Burton, Susan Cushman, and Daniel Clarkson,

23   Assistant United States Attorneys, respectfully move this Honorable Court for an Order to
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             2:20-mj-01114-BNW
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1    UNSEAL the above-captioned cases. Specifically, the undersigned requests to unseal these

2    items and all related documents in anticipation of producing the same as discovery in Case

3    No. 2:21-cr-00190-APG-EJY.

4

5    DATED this 1st of December, 2021.

6                                              Respectfully,

                                               CHRISTOPHER CHIOU
7
                                               Acting United States Attorney
8                                                     / s / Kimberly Sokolich
                                               ______________________________
9                                              KIMBERLY SOKOLICH
                                               CHRISTOPHER BURTON
10                                             Assistant United States Attorneys

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21   WARRANT FOR:                                     ORDER TO UNSEAL CASE

22   A UNITED STATES POSTAL
     SERVICE (USPS) PRIORITY MAIL
23   PARCEL BEARING TRACKING
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3    2156
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     IN THE MATTER OF THE                          Case No. 2:21-mj-00094-BNW
     TRACKING
9
     OF:                                           ORDER TO UNSEAL CASE
     A SILVER COLORED 2017
10   CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
11   PLATE NUMBER VMD601
     IN RE APPLICATION OF THE                      Case No. 2:21-mj-00209-BNW
12   UNITED STATES OF AMERICA
     FOR AN ORDER AUTHORIZING                      ORDER TO UNSEAL CASE
13   THE INSTALLATION AND USE OF
     A PEN REGISTER AND TRAP AND
14   TRACE DEVICE

15   IN THE MATTER OF THE                          Case No. 2:21-mj-00326-BNW
     CONTINUED TRACKING
16   OF:                                           ORDER TO UNSEAL CASE
     A SILVER COLORED 2017
17   CHEVROLET SILVERADO
     BEARING NEVADA LICENSE
     PLATE NUMBER VMD601
18

19
           Based on the Motion of the Government, and good cause appearing therefore, IT IS
20
     HEREBY ORDERED that the instant cases shall be unsealed.
21         DATED this ___ day of ________, 2021.
22        DATED: 12/6/2021
                                      _______________________________________
23                                    UNITED STATES MAGISTRATE JUDGE
                                            5
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